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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION



 MELISSA JAMINDAR, an individual,                       CIVIL ACTION

                       Plaintiff,
                                                        Case No. 2:19-cv-392
 v.
                                                        Judge:
 21ST CENTURY ONCOLOGY SERVICES,
 LLC, a Delaware limited liability company,             Mag. Judge:

                       Defendant.


                     COMPLAINT AND DEMAND FOR JURY TRIAL

       NOW COMES the Plaintiff, MELISSA JAMINDAR (“JAMINDAR” or “Plaintiff”), by

and through undersigned counsel, and states the following for her Complaint:

                                    CAUSES OF ACTION

       1.      This is an action brought under the Family & Medical Leave Act (FMLA) for (1)

interference in violation of the FMLA, and (2) retaliation in violation of the FMLA.

                                           PARTIES

       2.      The Plaintiff, MELISSA JAMINDAR (“JAMINDAR”) is an individual and a

resident of Florida who currently resides, and at all material times resided, in Collier County,

Florida but who worked for the Defendant in Lee County, Florida.

       3.      Defendant, 21ST CENTURY ONCOLOGY SERVICES, LLC (“21C”) is a

Delaware limited liability company with a principal place of business located in Fort Myers,

Florida. 21C employed JAMINDAR.

       4.      At all material times, 21C employed greater than fifty (50) employees.


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                                JURISDICTION AND VENUE

       5.      This Court has jurisdiction of this matter under 28 U.S.C. §1331.

       6.      Venue is proper in the United States District Court for the Middle District of Florida

because the Plaintiff resides in Collier County, Florida and 21C conducts business in, and some or

all of the events giving rise to Plaintiff’s claims occurred in Lee County, Florida, which is within

the Middle District of Florida. Venue is proper in the Fort Myers Division under Local Rule

1.02(b)(5) since Lee County, Florida is within the Fort Myers Division.

                                 GENERAL ALLEGATIONS

       7.      JAMINDAR began her employment with 21C on August 15, 2016 and was

employed as a registered nurse/OSHA officer.

       8.      JAMINDAR always performed her assigned duties in a professional manner and

was very well qualified for her position.

       9.      On April 2, 2019, 21C informed JAMINDAR that she was receiving a

performance bonus of $1,520.00.

       10.     However, shortly thereafter, JAMINDAR developed a serious health condition, to

wit: a generalized anxiety disorder.

       11.     On April 22, 2019, JAMINDAR became incapacitated by her serious health

condition and was advised by her health care provider to take medical leave.

       12.     JAMINDAR promptly informed 21C of her need for FMLA leave and applied for

the same.

       13.     On April 23, 2019, JAMINDAR’s health care provider sent 21C documentation

supporting JAMINDAR’s request for FMLA leave from April 22, 2019 to July 19, 2019. That

documentation included the specific statement that JAMINDAR suffered from a “Generalized



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Anxiety Disorder superseded by sudden panic symptoms which have at this time, lead to an

inability to focus, interact with others and persist in her work-related tasks in a diligent and

appropriate manner.”

       14.     On April 23, 2019, JAMINDAR advised 21C that she had submitted her FMLA

forms, and each day thereafter, JAMINDAR informed 21C that she was not able to come to work.

       15.     While the third-party medical leave administrator requested some additional

information from JAMINDAR, such as an authorization for release of medical records, 21C never

afforded JAMINDAR the opportunity and instead terminated her employment on April 26, 2019.

       16.     In sum, after requesting and taking FMLA leave, 21C targeted JAMINDAR for

termination, ultimately firing her for requesting and utilizing leave secured to her by the FMLA.

       17.     Because 21C obtained knowledge that JAMINDAR suffered from a qualifying

serious health condition under the FMLA, 21C was obligated to offer JAMINDAR leave under

the FMLA and reinstate her upon JAMINDAR attempting to return to work.

       18.     Consequently, 21C interfered with JAMINDAR’s right to utilize FMLA leave and

retaliated against her when she tried to invoke her right to leave and reinstatement, and thus 21C

has violated the FMLA.

  COUNT I – VIOLATION OF THE FAMILY & MEDICAL LEAVE ACT (“FMLA”)-
                           INTERFERENCE

       19.     The Plaintiff hereby incorporates by reference Paragraphs 1-18 in this Count by

reference as though fully set forth below.

       20.     JAMINDAR qualified for FMLA leave under 29 U.S.C. § 2611(11); 29 CFR §§

825.113(a); 825.800 since she suffered from a serious health condition, the FMLA defining a

serious health condition as an illness, injury, impairment, or physical or mental condition that




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involves treatment by a health care provider and JAMINDAR worked more than 1,250 hours in

the preceding 12 months of employment with the 21C.

         21.     JAMINDAR informed 21C of her need for leave due to her serious health

conditions.

         22.     21C was responsible for designating leave as FMLA-qualifying and for giving

notice of the designation within five business days, absent extenuating circumstances, after it has

enough information to make that determination, such as when it receives medical certification.

         23.     If 21C were to have decided that JAMINDAR’s expected absence was not FMLA-

qualifying, it must have notified her of this fact in the Designation Notice under 29 CFR §

825.300(d)(1).

         24.     21C has never provided JAMINDAR with any notice disqualifying her FMLA

leave.

         25.     In fact, 21C determined that JAMINDAR was eligible for leave under the FMLA

but then terminated her employment because of her request for federally protected medical leave.

         26.     JAMINDAR engaged in activity protected by the FMLA when she requested leave

due to her serious health condition, consistently informing the 21C of the same.

         27.     21C knew, or should have known, that JAMINDAR was exercising her rights

under the FMLA and was aware of JAMINDAR' need for FMLA-protected absence.

         28.     JAMINDAR complied with all of the notice and due diligence requirements of the

FMLA.

         29.     21C was obligated to provide JAMINDAR, an employee who requested FMLA

leave, up to 12 weeks of unpaid leave and then reinstatement to her former position or an equivalent




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position with the same pay, benefits, and working conditions when he returns to work under 29

U.S.C. § 2614(a)(1); 29 CFR § 825.215(a).

       30.     21C failed to grant leave and to return JAMINDAR to her former position or an

equivalent position in violation of the FMLA.

       31.     A causal connection exists between JAMINDAR's request for FMLA-protected

leave and her termination from employment with the 21C.

       32.     21C engaged in willful retaliation in violation of the FMLA by terminating

JAMINDAR 's employment because she engaged in activity protected by the FMLA.

       33.     As a result of the above-described violations of FMLA, JAMINDAR has been

damaged by 21C in the nature of lost wages, salary, employment benefits and other compensation

and is therefore entitled to recover actual monetary losses, interest at the prevailing rate and

liquidated damages.

       WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right, an award

of damages for lost wages and benefits, prejudgment interest, and liquidated damages under 29

U.S.C. § 2617(a)(1)(A), reinstatement or such other legal or equitable relief as may be appropriate,

and an award of reasonable attorney's fees and costs as authorized under 29 U.S.C. § 2617(3), and

any other such damages as this honorable Court deems just.

   COUNT II – VIOLATION OF THE FAMILY MEDICAL LEAVE ACT (“FMLA”)-
                             RETALIATION

       34.     The Plaintiff hereby incorporates by reference Paragraphs 1-18 and 20-32 in this

Count by reference as though fully set forth below.

       35.     JAMINDAR engaged in activity protected by the FMLA when she requested leave

due to her serious health condition, consistently informing the 21C of the same verbally and in

writing.

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       36.     21C knew, or should have known, that JAMINDAR was exercising her rights

under the FMLA and was aware of JAMINDAR's need for FMLA-protected absence.

       37.     A causal connection exists between JAMINDAR’s request for FMLA-protected

leave and her termination from employment with 21C because JAMINDAR engaged in statutorily

protected activity by requesting, taking and demanding reinstatement from FMLA leave.

       38.     21C retaliated by altering the terms and conditions of JAMINDAR’ employment

by terminating JAMINDAR’s employment because she engaged in the statutorily protected

activity of requesting, taking and demanding reinstatement from FMLA leave. 21C refused to

return JAMINDAR to work because JAMINDAR requested and took FMLA leave and

terminated her because she engaged in this statutorily protected activity.

       39.     21C engaged in willful and intentional retaliation in violation of the FMLA by

terminating JAMINDAR’s employment because she engaged in activity protected by the FMLA.

       40.     As a result of the above-described violations of FMLA, JAMINDAR has been

damaged by 21C in the nature of lost wages, salary, employment benefits and other compensation

and is therefore entitled to recover actual monetary losses, interest at the prevailing rate and

liquidated damages.

       WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right, an award

of damages for lost wages and benefits, prejudgment interest, and liquidated damages under 29

U.S.C. § 2617(a)(1)(A), reinstatement or such other legal or equitable relief as may be appropriate,

and an award of reasonable attorney's fees and costs as authorized under 29 U.S.C. § 2617(3), and

any other such damages as this honorable Court deems just.




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                                     DEMAND FOR JURY TRIAL

        NOW COMES the Plaintiff, MELISSA JAMINDAR, by and through her undersigned

attorneys, and demands a jury trial under Federal Rule of Civil Procedure 38 on all issues triable

of right by a jury in this action.

                                        Respectfully submitted,




Dated: June 11, 2019                    /s Benjamin H. Yormak
                                        Benjamin H. Yormak
                                        Florida Bar Number 71272
                                        Trial Counsel for Plaintiff
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